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11 Attorneys for Defendant
   UNITED STATES OF AMERICA
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13
                                 UNITED STATES DISTRICT COURT
14
                            SOUTHERN DISTRICT OF CALIFORNIA
15
     ESTATE OF ASHLI BABBITT AND               Case No. 24CV0033 BAS DDL
16   AARON BABBITT, individually and on
     behalf of the ESTATE OF ASHLI
17                                             NOTICE OF DEFENDANT UNITED
     BABBITT,
                                               STATES OF AMERICA’S MOTION
18
                                               TO TRANSFER VENUE
                    Plaintiff,
19
20           vs.                               Hearing Date: April 8, 2024
21
     THE UNITED STATES OF AMERICA, NO ORAL ARGUMENT UNLESS
22                                 ORDERED BY THE COURT
23            Defendant.

24
           PLEASE TAKE NOTICE that, on April 8, 2024, or as soon thereafter as it may be
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     heard before the Honorable Cynthia A. Bashant, Defendant United States of America will,
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     and hereby does, move the Court for an order granting the United States’ Motion to
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     United States’ Motion to Transfer Venue                       24cv0033 BAS DDL
     Case 3:24-cv-00033-BAS-DDL Document 5 Filed 03/01/24 PageID.52 Page 2 of 2




 1 Transfer Venue to the United States District Court for the District of Columbia, under 28
 2 U.S.C. § 1404(a). This motion is based on this Notice, the Memorandum of Points and
 3 Authorities attached hereto, and all other pleadings and filings in this action, and such other
 4 written or oral argument as may be presented at or before the time the Court takes this
 5 motion under submission.
 6         Pursuant to the Court’s Standing Order for Civil Cases, this motion is made
 7 following the conference of counsel for Plaintiff and counsel for Defendant that took place
 8 on February 23, 2024, via telephone. Plaintiff opposes this motion.
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           DATED: March 1, 2024                    Respectfully submitted,
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11                                                 BRIAN M. BOYNTON
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                                                   Trial Attorney
21                                      By:
22                                                 /s/ Brian J. Boyd
                                                   BRIAN J. BOYD
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     United States’ Motion to Transfer Venue                           24cv0033 BAS DDL
